          Entered on Docket March 25, 2021
                                                             Below is the Order of the Court.



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 2                                                            Christopher M. Alston
                                                              U.S. Bankruptcy Judge
 3                                                            (Dated as of Entered on Docket date above)

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        _______________________________________________________________
 6   CHRISTOPHER M. ALSTON
     United States Bankruptcy Judge
 7   700 Stewart Street, Room 7206
     Seattle, WA 98101
 8   (206) 370-5330

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12
                             UNITED STATES BANKRUPTCY COURT
13                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE
14     In re:
                                                                            Bankruptcy No. 18-14820
15
       Samia El-Moslimany
                                        Debtor.
16
                                                                            Adversary No. 19-01034
17     Hayat Sindi

18                                      Plaintiff,                    NOTICE OF TRIAL
                v.                                              AND ORDER SETTING DEADLINES
19
       Samia El-Moslimany
20
                                       Defendant.
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           1.        Trial Setting. This adversary proceeding is set for a three-day non-jury trial commencing
                     at 9:30 a.m. on August 10, 11, and 12, 2021 in the United States Bankruptcy Court, 700
23                   Stewart Street, Courtroom 7206, Seattle, Washington.

24         2.        Compliance. Failure to comply with the procedures and deadlines set forth in this order
                     may result in adverse evidentiary rulings and/or dismissal of the action. The trial may be
25                   stricken and the adversary proceeding dismissed with prejudice or relief entered without
                     further notice, and/or evidence excluded, for failure to comply with this order.


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 1        3.   Disclosures. Disclosure material shall not be filed with the Court except as exhibits or as
               evidence on a motion or at trial.
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 3             a.       Expert Disclosures. All parties shall make the expert disclosures required by
                        Federal Rule of Civil Procedure 26(a)(2) and Federal Rule of Bankruptcy
 4                      Procedure 7026 by June 11, 2021.

 5             b.       Non-expert Disclosures. All parties shall make the disclosures required by
                        Federal Rule of Civil Procedure 26(a)(3) and Federal Rule of Bankruptcy
 6                      Procedure 7026 by July 9, 2021.
 7      4.     Deadlines. The following deadlines will not be routinely extended absent a showing of
               diligent prosecution and compliance with this order. All requests for an extension must be
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               made by motion, noticed to all parties, and set for hearing before the applicable deadline.
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                a.      Discovery. All discovery shall be completed by July 9, 2021.
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                b.      Business Records. Any party intending to offer a record into evidence by
11                      declaration pursuant to Federal Rules of Evidence 902(11), 902(12), and 803(6)
                        must provide written notice of that intention to all adverse parties, and must
12                      make the record and declaration available for inspection on or before July 9,
                        2021.
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                c.      Dispositive Motions. Dispositive motions must be filed and served such that the
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                        hearing is held no later than twenty-one (21) days prior to the trial date.
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                d.      Exhibits. All parties must exchange their proposed exhibits by July 27, 2021.
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17              e.      Briefs. Plaintiff’s trial brief shall be served and filed ten (10) days prior to trial
                        and defendant’s trial brief shall be served and filed five (5) days prior to trial. At
18                      plaintiff’s option, plaintiff may serve and file a reply brief two (2) days prior to
                        trial. Trial briefs shall include, as an attachment, proposed findings of fact and
19                      conclusions of law. All must contain the top notation required by Local
                        Bankruptcy Rule 9013-1(d)(1)(B).
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                f.      Pretrial Orders. Counsel shall comply with Local Bankruptcy Rule 7016-1(b) in
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                        the filing of a proposed pretrial order. The pretrial order is due by August 3,
                        2021. If you fail to timely file the pretrial order, the trial may be stricken.
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                g.     Motions in Limine. Motions in Limine shall be filed no later than noon on
 1                     August 2, 2021 and any response shall be filed by noon on August 6, 2021. This
                       order does not preclude a party from pursuing a motion in limine prior to trial in
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                       accordance with the notice and hearing requirements of LBR 9013-1 and having
 3                     the motion heard on the Court’s regular adversary proceeding calendar.

 4        5.    Exhibits.

 5              a.     Numbering and Format. A number sequence shall be used for all exhibits
                       (including experts’ declarations) of all parties, with prefixes indicating the
 6                     offering party, plaintiff or defendant (i.e., P1, P2, P3, etc; D1, D2, D3, etc.).
                       Exhibits shall be pre-marked in accordance with this order. Any documentary
 7                     exhibits which can reasonably be submitted on 8-1/2 by 11 inch paper shall be,
                       with text on one side only. All pages within the respective exhibit should be
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                       numbered consecutively. (i.e., 1, 2, 3, etc).
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                b.     Binders. Any party submitting exhibits shall submit the exhibits in 3-ring
10                     binders. The binders shall include an index of the exhibits and each exhibit shall
                       be separated with an index tab marked with the identification as set forth in
11                     paragraph 5(a).

12              c.     Submission of Exhibits to the Court. Parties intending to offer exhibits shall
                       submit three (3) sets of exhibits in 3-ring binders for use by the Court, the clerk,
13                     and witnesses. To facilitate identification of exhibits for trial, parties intending
                       to offer 10 or more exhibits at trial shall submit them to chambers by noon on
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                       August 6, 2021 prior to trial, unless other arrangements are made in advance
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                       with Morgan Brannon (206-370-5331), Judge Alston’s Courtroom Deputy.

16              d.     Deposition Testimony. The parties shall comply with Local District Court Rule
                       32(e). Transcripts of deposition testimony offered solely for impeachment
17                     should neither be identified as exhibits in the pretrial order nor included with the
                       exhibits provided to the Court.
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19        6.    Mediation and Settlement. If not previously filed, the parties shall file the Mediation
                Certification required by Local Bankruptcy Rule 9040-3. Within five (5) Days of the
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                entry of this order the parties shall notify the Court if the matter is settled.
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          7.    Confirmation. The plaintiff shall confirm that the trial is going forward not later than
22              noon August 5, 2021 by using the E-Docket Confirmation Process and by notifying any
                party not represented by a lawyer by mail, facsimile or telephone. Failure to comply
23              may result in the trial being stricken and the case dismissed with prejudice. For
                information concerning the E-Docket Confirmation Process, please visit the Court’s
24              website at http://www.wawb.uscourts.gov. Plaintiffs who are not represented by a
                lawyer may confirm a trial by contacting the Court’s chambers at (206) 370-5330.
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 4        8.    Continuances. Continuances are not routinely granted by the Court and will not be granted
                without a court order entered at least one week prior to the trial date. An agreed
 5              continuance may be requested by a letter addressed to the judge. The letter should include
                a representation that the continuance is agreed and proposed revised deadlines. A
 6              contested request for continuance must be made by motion and noted for hearing prior to
                the date of the trial. Unless the trial has been continued by order of the Court, the parties
 7              will be expected to appear for trial as scheduled. The parties must contact Judge Alston’s
                Courtroom Deputy, Morgan Brannon, at 206-370-5331, for available trial dates.
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                                            /// End of Order ///

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